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POST OFFICE BOX 8068
VIRGINIA BEACH, VA 23450

February 21, 2019

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JANET HOWARD
1795 CONEY ISLAND AVE STE 3
BROOKLYN NY 11230-6514

Re: NON-APPROVAL
Loan Number: XXXXXX6297

Property address: 334 Herzl Street
Brooklyn NY 11212

Dear Borrower(s):

Thank you for contacting us about your mortgage. Our review of your financial and other
information indicates that although you may have a hardship, you do not qualify for a loan
modification. Your mortgage payment was due on February 01, 2009. In addition, your account
has accrued late charges of $7,428.08. it is important that you make your full monthly mortgage
payment and late charges of $522,699.05 immediately.

We recognize that this may be disappointing news for you. However, in order to avoid the
negative impacts to your credit rating resulting from late payments and to avoid foreclosure, it is
important that you make the full payment listed above as quickly as possible and continue to
make your mortgage payment by the scheduled due date.

Please send your payment in the full amount due to:

LoanCare, LLC
P.O. Box 8068
Virginia Beach, VA 23450

If you have questions about your mortgage payment or concerns about the evaluation of your
mortgage for foreclosure alternatives, then please contact LoanCare, LLC’s Loss Mitigation
Department-Appeals at 1.800.909.9525.

You were evaluated for mortgage payment assistance based on the eligibility requirements of
CIT BANK, N.A.

Customer Service: 1.800.274.6600 Collections: 1.800.909.9525
Monday — Friday: 8 a.m. — 10 p.m. EST Saturday 8 a.m. — 3 p.m. EST

  

3637 Sentara Way | Virginia Beach, VA 23452°| www,MyLoanCare.com

   
 

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VIRGINIA BEACH, VA 23450

Although you may have a hardship, based on a review of your financial circumstances, you are
not eligible for the following foreclosure alternatives:

Repayment Plan
Deficit of surplus income to support payments.

Unemployment forbearance
Proof of unemployment required.

CIT Proprietary Mod
You have insufficient income to afford a modified mortgage payment and pay required taxes,
insurance and other related property expenses.

CIT Capitalization Mod
Forbearance exceeds delinquency maximum of 12 months.

Right to Appeal

You have the right to appeal our determination not to offer you the loan modification listed
above. If you would like to appeal, you must contact us in writing at LoanCare, LLC, Loss
Mitigation Department — Appeals, P.O. Box 8068, Virginia Beach, Virginia 23450, no later than
March 14, 2019 and state that you are requesting an appeal of our decision. You must include
in the appeal your name, property address, and mortgage loan number. You may also specify
the reasons for your appeal and provide any supporting documentation. Your right to appeal.
expires March 14, 2019. Any appeal requests or documentation received after March 14, 2019
may not be considered. . — cs

lf you elect to appeal, we will provide you a written notice of our appeal decision within 30
calendar days of receiving your appeal. Our appeal decision is final and not subject ta further °
appeal. -

lf you elect to appeal, you do not have to make the full mortgage payment amount until
resolution of the appeal. If we determine on appeal that you are eligible for a loan modification,
we will send you an offer. In that case, you may choose to make the full mortgage payment
amount (including any delinquent amounts and late charges that have accrued during the
appeal process) or accept the offer by contacting us at 1.800.909.9525 or in writing at
LoanCare, LLC, Loss Mitigation Department — Appeals, P.O. Box 8068, Virginia Beach, Virginia
23450 no later than 14 calendar days from the date of the appeal decision.

lf you wait to make the payment amount described above until after receiving our appeal
decision, your loan will become more delinquent. Any unpaid interest, and other unpaid
amounts, such as escrows for taxes and insurance, will continue to accrue on your mortgage
loan during the appeal and will be added to the total amount due to bring your loan current.

‘Please also be advised that we wilh continue to report the delinquency status of your loan to
credit reporting agencies as well as your entry into loan modification or other plan in accordance

Customer Service: 1.800.274.6600 Collections: 1.800.909.9525
Monday — Friday: 8 a.m. — 10 p.m. EST Saturday 8 a.m. — 3 p.m. EST

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VIRGINIA BEACH, VA 23450

with the requirements of the Fair Credit Reporting Act and the Consumer Data Industry
Association requirements.

Sincerely,

Loss Mitigation Department
LoanCare, LLC
NMLS ID #2916

*PLEASE SEE IMPORTANT STATE DISCLOSURES INCLUDED WITH THIS LETTER*

Notices of error and information requests must be sent to:

LoanCare, LLC

Attention - Mortgage Resolution
P.O. Box 8068

Virginia Beach, VA 23450

TO THE EXTENT THE FAIR DEBT COLLECTION PRACTICES ACT (FDCPA) IS
APPLICABLE, PLEASE BE ADVISED THAT THIS COMMUNICATION IS FROM A DEBT
COLLECTOR AND ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.

IF YOU ARE CURRENTLY INVOLVED IN A BANKRUPTCY PROCEEDING OR HAVE
PREVIOUSLY RECEIVED A DISCHARGE IN A BANKRUPTCY PROCEEDING, PLEASE
NOTIFY US IMMEDIATELY AND BE ADVISED THAT THIS NOTICE IS FOR
INFORMATIONAL PURPOSES ONLY. THIS NOTICE IS NOT INTENDED TO COLLECT,
RECOVER, OR OFFSET THE DEBT AGAINST YOU PERSONALLY AND SHOULD NOT BE
CONSIDERED A DEMAND FOR PAYMENT OR INDICATE THAT YOU ARE PERSONALLY
LIABLE FOR THIS DEBT. PLEASE CONSULT AN ATTORNEY IF YOU HAVE ANY
QUESTIONS ABOUT YOUR RIGHTS UNDER BANKRUPTCY LAW.

THE SERVICEMEMBERS CIVIL RELIEF ACT (SCRA) MAY OFFER PROTECTION OR
RELIEF TO SERVICEMEMBERS. IF EITHER YOU HAVE BEEN CALLED TO ACTIVE DUTY
OR ACTIVE SERVICE, OR YOU ARE A SPOUSE OR DEPENDENT OF SUCH A
SERVICEMEMBER, YOU MAY BE ENTITLED TO CERTAIN LEGAL PROTECTIONS AND
DEBT RELIEF PURSUANT TO THE SCRA. IF YOU HAVE NOT MADE US AWARE OF
YOUR STATUS, PLEASE CONTACT US IMMEDIATELY. YOU MAY ALSO CONTACT YOUR

Customer Service: 1.800.274.6600 Collections: 1.800.909.9525
Monday — Friday: 8 a.m. — 10 p.m. EST Saturday 8 a.m. — 3 p.m. EST

    

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VIRGINIA BEACH, VA 23450

UNIT’S JUDGE ADVOCATE OR YOUR INSTALLATION’S LEGAL ASSISTANCE OFFICER,
AVAILABLE AT HTTP://LEGALASSISTANCE.LAW.AF.MIL/CONTENT/LOCATOR.PHP, OR
CALL 1-800-342-9647 (TOLL FREE FROM THE UNITED STATES) OR

soe ess WAWWEMILITARYONESOURCE.MIL/LEGAL TO FIND OUT MORE INFORMATION.

The consumer reporting agency contacted that provided information that influenced the decision
in whole or in part was TRANSUNION, P.O. Box 1000, Chester, PA 19022. The toll-free
telephone number for TRANSUNION is (800) 888-4213. The reporting agency played no part in
the decision and is unable to supply specific reasons why your request for a modification was
denied. You have a right under the Fair Credit Reporting Act to know the information contained
in your credit file at the consumer reporting agency. You also have a right to a free copy of your
report from the reporting agency, if you request it no later than 60 days after you receive this
notice. In addition, if you find that any information contained in the report you receive is
inaccurate or incomplete, you have the right to dispute the matter with the reporting agency.
Any questions regarding such information should be directed to TRANSUNION.

We also obtained your credit score from the consumer reporting agency and used it in making
our credit decision. Your credit score is a number that reflects the information in your consumer
report. Your credit score can change, depending on how the information in your consumer
report changes. Your credit score is 605, which was created on 01/23/2019. The scores range
from a low of 300 to a high of 850. Key factors that adversely affected your credit score are:

unable to cure delinquency within 6 mos

one or more borrs are receiving continuous income

unable to reach target front end ratio. post mod pymt not affordable
exceeds maximum delinquency

if you have any questions regarding your credit score, you should contact TRANSUNION at the
address or toll-free telephone number above.

THE FEDERAL EQUAL CREDIT OPPORTUNITY ACT PROHIBITS CREDITORS FROM
DISCRIMINATING AGAINST CREDIT APPLICATIONS ON THE BASIS OF RACE, COLOR,
RELIGION, NATIONAL ORIGIN, SEX, MARITAL STATUS, AGE (PROVIDED THE APPLICANT
HAS THE CAPACITY TO ENTER INTO A BINDING CONTRACT); BECAUSE ALL OR PART
OF THE APPLICANT'S INCOME DERIVES FROM ANY PUBLIC ASSISTANCE PROGRAM;
OR BECAUSE THE APPLICANT HAS IN GOOD FAITH EXERCISED ANY RIGHT UNDER
THE CONSUMER CREDIT PROTECTION ACT. THE FEDERAL AGENCY THAT
ADMINISTERS COMPLIANCE WITH THIS LAW CONCERNING THIS CREDITOR IS THE

F eree OLEOERAL TRADE COMMISSION, EQUAL CREDIT OPPORTUNITY, WASHINGTON, OC”
20580.

Customer Service: 1.800.274.6600 Collections: 1.800.909.9525
Monday — Friday: 8 a.m. — 10 p.m. EST Saturday 8 a.m. — 3 p.m. EST

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IM TICE T FIRM E INTEREST

NOTICE TO CONFIRMED SUCCESSORS IN INTEREST: Please be advised that, unless you
assume the loan under state law, you will not be liable for the mortgage debt and cannot be

required to use your assets, as a confirmed successor in interest, to pay the mortgage debt,
except that the lender has a security interest in the property and a right to foreclose on the
property when permitted by law and authorized under the mortgage loan contract.

IMPORTANT STATE DISCLOSURES
SEE IMPORTANT DISCLOSURES BELOW

Important notice for Arkansas Residents: Within the state of Arkansas, LoanCare is licensed
by the Arkansas Securities Department. You may file complaints with the Department at
Heritage West Building, Suite 300, 201 East Markham Street, Little Rock, Arkansas
72201-1692.

Important notice for Colorado Residents: Within the state of Colorado, LoanCare maintains
an office at 80 Garden Center, Building B, Suite 3, Broomfield, CO 80020. The telephone
number is 303-920-4763.

Important notice for Hawaii Residents: Within the state of Hawaii, LoanCare is licensed by
the Commissioner of Financial Institutions. You may file complaints with the Commissioner at
P.O. Box 2054, Honolulu, Hi 96805.

Important notice for Hawaii Residents who submitted a loss mitigation request: If you

believe your loss mitigation option request has been wrongly denied, you may file a
complaint with the state division of financial institutions at (808) 586-2820 or

http://cca.hawaii.gov/dfi/file-a-complaint.

Important notice for Illinois Residents: Within the state of Illinois, LoanCare is regulated by
the Illinois Department of Financial and Professional Regulation — Division of Banking, 100 West
Randolph, 9th Floor, Chicago, IL 60601. The toll-free consumer hotline number is
1-888-473-4858.

Important notice for Maryland Residents: Maryland law requires LoanCare to designate a
contact to whom mortgagors may direct complaints and inquiries. LoanCare has designated the
Office of the Customer for that purpose. The telephone number for the Office of the Customer
is 1-800-919-5631. The Office of the Customer must respond in writing to each written
complaint or inquiry within 15 days if requested. LoanCare’s failure to comply with any provision
of Section 13-316 of the Maryland Commercial Law will result in LoanCare being liable for any
economic damages caused by the violation.

Important notice for New York Residents: Within the state of New York, LoanCare is
registered with the Superintendent of the New York Department of Financial Services. You may
file complaints with the Department of Financial Services and may obtain further information
from the Department of Financial Services by calling the Department’s Consumer Assistance
Unit at 1-800-342-3736 or by visiting the Department's website at www.dfs.ny.gov.

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Important notice for New York Residents who submitted a loss mitigation request: If you
believe the loss mitigation request has been wrongly denied, you may file a complaint
with the New York State Department of Financial Services at 1-800-342-3736

or www.dfs.ny.gov.

Important notice for New York Residents who were offered a debt payment schedule or
agreement to settle debt: If a creditor or debt collector receives a money judgment against
you in court, state and federal laws may prevent the following types of income from being taken
to pay the debt:

. Supplemental security income, (SS});

. Social security;

. Public assistance (welfare);

. Spousal support, maintenance (alimony) or child support;

. Unemployment benefits;

. Disability benefits;

. Workers’ compensation benefits;

. Public or private pensions;

. Veterans’ benefits;

10. Federal student loans, federal student grants, and federal work study funds; and

11. Ninety percent of your wages or salary earned in the last sixty days.

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Important notice for North Carolina Residents: Within the state of North Carolina, LoanCare
is licensed by the Commissioner of Banks. You may file complaints with the Commissioner at
4309 Mail Service Center, Raleigh, NC 27699.

North Carolina Permit Numbers 112029, 112165, 113538

Important notice for North Carolina Residents who submitted a loss mitigation request:
If you believe the loss mitigation request has been wrongly denied, you may file a
complaint with the North Carolina Office of the Commissioner of Banks website,
www.nccob.gov.

Important notice for Oregon Residents: Residential mortgage loan servicers are regulated
by the Oregon Division of Financial Regulation. To file a complaint, call (866) 814-9710 or visit

http://dfr.oregon.gov.

Important notice for Texas Residents: COMPLAINTS REGARDING THE SERVICING OF
YOUR MORTGAGE SHOULD BE SENT TO THE DEPARTMENT OF SAVINGS AND
MORTGAGE LENDING, 2601 NORTH LAMAR, SUITE 201, AUSTIN, TX 78705. A
TOLL-FREE CONSUMER HOTLINE IS AVAILABLE AT 877-276-5550.

A complaint form and instructions may be downloaded and printed from the Department's
website located at www.sml.texas.gov or obtained from the department upon request by mail at
the address above, by telephone at its toll-free consumer hotline listed above, or by email at

smlinfo@sml.texas.gov.

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